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				IN RE ADOPTION OF PROCEDURES FOR THE NOTICE AND FILING OF OPINIONS2017 OK CR 6Case Number: CCAD-2017-3Decided: 03/31/2017IN RE ADOPTION OF PROCEDURES FOR THE NOTICE AND FILING OF OPINIONS

Cite as: 2017 OK CR 6, __  __

				

ORDER ADOPTING OPINION FILING PROCEDURES
¶1 Now on this 31st day of March, 2017, The Court of Criminal Appeals adopts the following procedure for the handing down of opinions and giving notice of when opinions will be handed down.
¶2 Whereas the Court of Criminal Appeals maintains a "mailing list" whereby individuals and organizations can subscribe to receive published opinions of the court electronically when the opinion is handed down, and,
¶3 Whereas, the Clerk of the Appellate Courts also provides a "mailing list" for individuals and organizations to receive electronic copies of all Court of Criminal Appeals opinions, both published and unpublished, and, 
¶4 Whereas a more unified process should be promulgated for the Court to give notice of the filing date of opinions adjudicated and make available to interested individuals and organizations those opinions in a timely manner: 


IT IS THEREFORE ORDERED AJUDGED AND DECREED as follows:
1. The Court adopts a uniform hand down day of the week for both published and unpublished opinions, that being on Thursday of each week, except when that day is a holiday. 
2. The Court further adopts the procedure of giving notice each week on Tuesday of the opinions which will be handed down on the following Thursday. That notice shall be given electronically via the Court's "mailing list". Individuals and organizations may subscribe to the "mailing list" free of charge, by emailing to the following email address: dway@okcca.net. 
3. The Clerk of the Appellate Courts shall continue the procedure of scanning all opinions of the Court of Criminal Appeals and transmitting those opinions electronically to individuals and organizations on the Clerk's "mailing list". Individuals and organizations can join, at no cost, the Clerk's "mailing list" by emailing their request to Glenda.Burris@oscn.net. 
4. This procedure shall be utilized for all opinions issued by the Court of Criminal Appeals, except in those rare instances when time is of the essence and an opinion must be handed down to meet a time requirement. This procedure shall not be utilized for orders issued by the court. 
5. It is the responsibility of each subscriber to keep each custodian of the "mailing lists" informed of current e-mail addresses. 
6. This procedure shall commence on May 1, 2017.
¶5 IT IS SO ORDERED.
¶6 WITNESS OUR HANDS AND THE SEAL OF THIS COURT this 31st day of March, 2017.
/s/GARY L. LUMPKIN, Presiding Judge
/s/DAVID B. LEWIS, Vice Presiding Judge - Dissenting
/s/ARLENE JOHNSON, Judge
/s/CLANCY SMITH, Judge&nbsp; CIR
/s/ROBERT L. HUDSON, Judge 
ATTEST:
Michael S. Richie(Clerk)




Lewis, J., Dissenting:
¶1 I respectfully dissent to the rule change being made by the court. This is a classic example of a solution seeking a problem. The rule change created by the court is clearly unnecessary. There are two things created by this rule change.
¶2 Part one of the change will create one day for handing down opinions by this court. The second is the creation of a notification list for hand downs. Under the court's current system, anyone can receive notification of a decision by simply placing their name on the existing appellate court clerk's list serve. 




SMITH, J., CONCURRING IN RESULT:
¶1 With reservations, I agree to this Order changing the procedure for handing down opinions and providing notice of hand down date. I fear this new procedure may create more problems than it solves.




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